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                             '  UM TED STATESq DISTRICT COURT
                                SOUTH ERN IIISTRICT OF FLORIDA
                              CASE NO .17-80242-CR-R OSENBERG/HUNT

        UM TED STATES OF AM ERICA

              V.

        ALEJANDRO ANDRADE CEDENO ,

              Defendant.


                                      CON SENT TO FOR FEITUR E

              1,ALEJANDRO ANDR AD E CEDEN O,fteely and voluntarily and w ithout coercion

       m akethe following consentto forfeiture and declaration:

                     On or aboutDecem ber l9,2017,lpleaded guilty to a single-countlnform ation,

       which charged me with conspiracy to violate Title l8,United StatesCode,Section 1957,thatis,

       to knowingly engageand attemptto engagein monetarytransactionsby,througlz,ortoa financial

       institution,affecting interstate and foreign comm erce,in crilninally derived property of a value

       greaterthan$10,000,suchproperty havingbeen derivedfrom aspecitied unlawfulactivity(i.e.a
       violation oftheForeignCorruptPracticesAct((TCPA''),in violationofTitle 15,United States
       Code,Section 78dd-3),in violation of Title 18,United States Code,Section 19.
                                                                                  '
                                                                                  56(h). See
       lnformation'
                  ,PleaAgreement!2.
                     In a written Plea Agreement,1 agreed,am ong other provisions,to forfeitto the

       United StatesofAmerica (the GçunitedStates'')voltlntarily and immediatelyallproperty,realor
       personal,involvedintheviolationofTitle18,UnitedStatesCode,Section 1956(h)chargedinthe
       lnformation,propel
                        'ty traceableto such propel-ty,and/orpropel-ty thatconstitutesubstitute assets,

       pursuantto Title 18,United StatesCode,Section 982(a)(1)and Title21,United StatesCode,
       Section853(p).SeePleaAgreement! 1l.lagreedthatsuch propertyincludes,butisnotlimited



                                                                                          '
                                                                                         SI-T.
                                                                                         r
                                                                                             CCHMENT/EXHIBIT
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       to,a sum equalin valueto thetotalam ountlaundered to,by,and/orformy benetitaspa14ofthe

       charged conspiracy,which theUnited Statesmay seek asaforfeiture moneyjudgment.
       agreedto consentto the entry ofordersofforfeitureforsuch property.1d.

                     As setfol'th in the Factual Profferexecuted by m e and submitted to the Courtin

        supportofm y guilty plea,1w asthe Venezuelan NationalTreasurerfrom approxiluately 2007 to

       20l1. See FactualProffer!3. By virtue ofmy officialposition asthe Venezuelan National
       Treasurer,1had the ability to intluence rnatlers related to the bolivar to U .S.dollar exchange

       process,including deciding which brokeragehousesreceivedgovenunentauthorizationtoconduct

       theseexchangesatatixedexchangerateestablishedbytheVenezuelan government.1d.!6.
                     From approximately 2007 tlkrough January 2011,lagreed to acceptbribesfrom co-

       conspiratorsin exchangeforselectingthem to carry outtheU.S.dollarto bolivarexchangeprocess

       withtheVenezuelanNationalTreasury,orOficinaNacionaldelTesoro($çONT''),whichallowed
       those co-conspirators to obtain substantialprotits on the exchange transactions. See Factual

       Proffer!7.
                     From 2007 to the present,when lrequested,atleastthree co-conspiratorswould

       transferorcausethetransferoffundsto purchasepropertyandpay form y expensesintheSouthern

       D istrictofFloridaand elsewhere. Together,thesethree co-conspiratorstoldm ethatthey held or

       areholdingVenezuelanbondsandotherassetsvaluedatapproximately$1billioninU.S.currency
       during thistim eperiod forlny benefit.Asaresultofthe charged m oney laundering conspiracy,l

       obtained,directlyand indirectly,thefollowingproperty(collectively,tlsubjectAssets1'5):
              FinancialAccounts
              (1)    Allassetsondepositinacccuntnumber0209551%A heldinthename()f,orforthe
                     benefitof,AlejandroAndraleatBS1BankinSwitzerland;
              RealEstate
              (2)    15231SunnylandLane,W ellington,Florida33414;


                                                     2
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              (3)    l5680and 1574046thLaneS,W ellington,Florida334l4;
              (4)    1290N.OceanBoulevard,12 .alm Beach,Florida33480;
              (5)    16912CrownBridgeDrive,DelRayBeach,Florida33446,   .
              (6)    15159 SunnylandLane,W ellington,Florida33414;
              (7)    AvenidaRioOrinoco,Casa307,CumbredeCuromo,Caracas,Venezuela;
              (8)    No.3 Edificio Residencias Penatiel,Av.Principalde San Marino.M iranda,
                     Veneztlela;
              (9)    12789MeadowbreezeDriva,Wellington,Florida33414;1
              Vehicles
              (10) 2017 Mercedes Benz GLS 550, Vehicle ldentitication Number (:1V1.
                                                                                  N'')
                     4.
                      1G1312717E81-G 893079;
              (11) 2017MercedesBenzAMG G-63;
              (12)   2017CadillacEscalade,Vm 1GYS4KKJ4l-lRl35l74;
              (13)   2016PorscheCayennesVm W PlAC2M 6GLA86557;
              (14)   2016ChevyTahoe;
              (15)   2016 MerccdesBenzAM G S-63,VIN W DDXJ7JB3GA012139
              (16)   2015BentleyContinentalConvertible,Vm SCBGJ3ZA2FC044777;
              (17)   2015ChevroletSilverado2500,Vm 1GC4KYC83FF180852;
              (18)   2014DodgeRam 3500)
              (19)   2013Toyota4Runner,Vm JTEZU5JR4D5048434;
              (20)   2009CimarronHorseTrailer,Vm 517A11G34249C006294;
              (21)   Lawnmower/tractor;
              (22)   Three(3)golfcal-ts;
              Horses
              (23)   AnastasiaDuPark;
              (24)   Bonjovi;
              (25)   BoyIV;
              (26)   Clouwni;
              (27)   Cortinal86.,
              (28)   Dipssy',
              (29)   HardrockZ;
              (30)   Jenni'sChance;
              (31)   JolyJumper;
              (32)   LeonardoRGS;
              (33)   NokiadeBrekka;
              (34)   QuilinaVD LaarseheideZ;
              (35)   ReusdelaNutria;
              (36)   RicoreCourcelle;
              (37)   TupacVandeVrombautshoeve2;
              (38)   U;
              (39)   TilzkerBell;

        1Approximately$100,000ofthe$250,000purchasepriceforthispropel'tywasfundedbyoneof
        m y co-conspirators;however,therem ainingportion wasfunded by l
                                                                      ny w ife and herfamily.
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             Watches
             (40) Rolex Daytona Cosmograpl n(platinum)watch,reference (çCRef'')116506,
                  serialnumber($$SN'')L90017410;
             (41) Rolex Yacht-M aster11(whitegold and platinum)watch,Ref l16689,SN
                   V7730934
             (42) Rolex Sky-Dweller(yellow gold)watch,Ref326938,SN 58W 365Z2;
             (43) HublotBig Bang King (rosegold and black dial)watch,Ref322,SN
                   762177;
             (44) HublotBig Bang King Black M agic (black titanium and ceramic)watch,
                   Ref322,SN 737211;
             (45) HublotBig Bang Chronography Tourbillon 20th Anniversary ofFerrari
                  watch,Limited4of20,Ref308.QX.11l0.l- 1R.SCFll,SN 930027;
             (46) HublotKingPower(black titanium and ceramic)watch,Limited 8of35,
                   SN 860397;
             (47) HublotBigBangUEFA (blacktitanium andceramic)watch,Limited 1
                                                                            .557
                   of2008,Ref318,SN 739956;
             (48) HublotBigBangYankeeVictor(stainlesssteel)watch,Limited29of100,
                   Ref301,SN 689869;
             (49) HublotKingPower(titanium and zirconium,rubberband)watch,Limited
                   244 of500,SN 823700;
             (50) HublotKily Powel
                                 -LavinotintoChronograph(blacktitanium andceramic)
                   watch,Lim lted 1lof40,SN 977783;
                   Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 1A-001,
                   M ovementNo 5998681,SN A384FBC;
             (52) PatekPhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref5726/
                   1A-001,M ovem entNo 5334786,SN A384FAP;
                   Patek PhilippeNautilusmanual(rose gold and stainlesssteel)watch,Ref
                   5980 /1AR-00l,M ovementN o 5928544,SN A 3841AP;
             (54) AudemarsPiguetRoyalOlitk OffshoreChronograph (rosegold and black
                  rubberband)watch,Ref3850,SN 629840;
                  AudelnarsPiguetRoyalOak OffshoreSafariChronograph (stainlesssteel
                  andbrown band)watch,Nc)5446,Ref26170,SN 643443;
             (56) AudemarsPiguetRoyalOak OffshoreChronograph BumbleBee(carbon)
                   watch,No 2376,Ref26176,SN 48097;
                   AudemarsPiguetRoyalOal
                                        kOffshore(stainlesssteel)watch,No 1836,.Ref
                   26170,SN 617332;
             (58) RogerDubuisEasy Diver'
                                       Tourbidiver(stainlesssteel)watch,M ovement
                   No 141705,SN 13/88;
             (59) RogerDubuisM uchMoret  lrosegold)watch,SN 23/28,stamped7509
             (60) PaneraiLuminorM onopulEanteGM T Chronograph(titanium andceramic)
                   watch,Limited 1.005of500,N o0P6752,RefPA M 003l7,SN 881458977)
                   PaneraiLuminorSubmersibleDiversProfessional(stainlesssteel)watch,
                   Lim ited J459 of700,No 0.
                                           1
                                           ?6701,SN 881253185;
             (62) PaneraiLuminor(stainlesssteel)watch,LilnitedK198of500,No0P6726,
                    SN P80596207;


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              (63) lW C PilotSpitfire Chronoli
                                             yaph PerpetualCalendar(yellow gold)watch,
                     N o AU 750,Ref1W 379103,SN 5074132;
              (64) JaegerLeCoultre Masterf'
                                          ompressorDiving GMT watch,Ref159.7-.05,
                     SN 2471271;
              (65) Jaeger Le Coultre M asterCompressorDiving Chronograph (rose gold)
                     watch,Ref160.2.25,SN 2469332;
              (66) Jaeger lwe Coultre M aster Grande Tradition M inute Repeater manual
                   (titanium)watch,Limited 65of100,Ref.187.7-.67.5,SN 2653359;
              (67) FrankM ullerCasablanca(stainlesssteel)watch,No l0l8,Ref8885C CC
                     DT;
              (68) Frank M ullerMariner(stailllesssteeland red dial)watch,No 69,Ref908
                     CC AT M ar;
              (69) FrankM ullerM arinerChronograph(stainlesssteelandbluedial)watch,No
                     29,Ref8080 CC AT M ar;
              (70) Frank VilaTourbillonPlanetaireSkeletonSuperlsigero Concept(titanium)
                     w atch,Limited 3 of8,RefFVA N6;
              (71) Frank VilaChronograph (titanium)watch,Limited3of48,RefFVAIO;
              (72) Greubel Forsey GMT Global Double Tourbillon (white gold) watch,
                     Lim ited 28 of33,RefGF GM T W G,stamped A.
                                                              U 750 02 669;
              (73) lW C SchaffhausenBigPilotAntoinedeSaintExuperyEdition (rosegoldl
                     watch,Limited 35 of500,Ref1W 500421,SN 3427442;and
              (74) RolexDaytonaCosmograph(yellow goldandbluedial)watch,Ref116528,
                     SN 5217M 9527.

                     ln addition, upon m y request,these co-conspirators transferrcd funds into the

        follow ing financialaccounts,among other accounts,to purchase,improve and/or maintain the

        followingassets,aswellasotherassets,formybenefit(collectively,çûsubjectAssets11'5
                                                                                        .
                                                                                        )2
              JpM organ ChaseBankNA.(UnitedStates)
              (75) Accountnumber000000941600801held in thenameofTelseyProperties
                     Holding,LLC atJpM organ ChaseBankN .A .;
              (76) Accotlntnumber000003016268889 held in thenameofTelseyProperties
                     Holding,LLC atJpM organ ChaseBank N .A .;
              (77) Accountnumber000000941600959held in thenameofDobleA Records
                     USA LLC atJ'
                                PM organ ChaseBank N .A.;
              (78) Account number 000000471158365 held in the name of M alabar
                     M anagem entLLC atJpM organ ChaseBank N.A .;

              BankofAmerica (UnitedStates)
              (79) Account number 898060394243 held in the name ofTelscy Properties
                     Holding LLC atBank ofAmerica;
              (80) Accountnumber898061772088heldinthenameofDobleA M anagement
                     LLC atBank ofAlnerica;
              (81) Accountnumber898061778091heldinthenameofDobleA Farm,LLC at
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                   Bank ofAmerica;
             (s2) Accountnumber89803936.
                                       2866held inthenameofM alabarM anagement
                   LLC atBank ofAmerica;
             (83) Accountnumber898061776899 held in the nameofYlCSM l66 LLC at
                   Bank ofAm erica;
             (84) Accountnumber 898069490261held in thename ofY1CSM 166 LLC at
                   Bank ofAm erica;
             (85) Accountnumber89805103479heldinthenameofYanoselliColmenares
                   atBank ofAmerica;
             (86) Accountnumber898059105508held in thenameofEmanuelAndradeat
                   Bank ofAmerica;
             (87) Accountnumber898053122325heldinthenameofMariaAndradeatBank
                   ofAm erica;

             WellsFargoBank(UnitedStates)
             (88) Accountnumber5340241792 held in thenameofM alabarManagement,
                   LLC atW ellsFargo Bank;
             (89) Account number 5536404915 held in the name of Telsey Properties
                   Holding,LLC atW ellsFargo Bank;
             (90) Accountnumber3174647564 held in the nameofYanoselliColmenares
                   M ibelliatW ellsFargo Bank;
             (91) Accountnumber3174683361heldinthenameofM ariaAndradeatW ells
                   Fargo Bank;
             (92) Accountnumber3174683353heldinthenameofM ariaAndradeatW ells
                   Fargo Bank;

             Citibank(UnitedStates)
             (93) Accountnumber ending in 9416 held in the name ofTelsey Properties
                   Holding LLC atCitibank;

             lnteraudiBank(Unitedstates)
             (94) Accountnumber721384 held in the nameofChiarezza CapitalC.A.at
                   InteraudiBank;

             NodusIntelmationalBank(PuertoRico,UnitedStates)
             (95) Accotmt Number 10588 held in the name of Godeja lnc. at Nodus
                   InternationalBank;

             BSIBank(Switzerland)
             (96) AccountnumberC117708465110250672001 held in the name ofTastor,
                   lnc.atBSlBank in Switzerland;
             (97) Account number C1147084680000114931 held in the name of Telsey
                   M anagerslnternational,lnc.atBS1Bank in Sw itzerland;
             (98) Accountnumber(2114508465110950682001held in thenameofGefrion
                   CapitalS.A .atBS1Bank in Sw itzerland;
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             EFG Bank(k
                      Mwffzer/tznfi
             (99) Accountnumber17340217keldinthenameofTastorGlobalFixedlncomq
                   Fund Ltd.atEFG Bank in Switzerland;
             (100) AccountnumberC110808667005846751210held in the name ofW estern
                   Cape Holding atEFG Bank in Switzerland;
             (101) AccountnumberC111308667005846761208held in the name ofAndiron
                   Corp atEFG Bank in Switzerland;
             (102) Account number (21-147084680000114931 held in the name of Telsey
                   M anagersInternationallnc.atEFG Bank in Sw itzerland;

             PK-B PrivateBankrkvu/ïfzcr/twv#J
             (103) Accountnumber C113208663610001340100 held in the name ofRafael
                   Eduardo Cedeno W olkm aratPlo Private Bank in Sw itzerland;
             (104) Accountnulnber(2112908663215812800003 held in thename ofGerrion
                   CapitalS.A.atPKB PrivateBank in Switzerland;
             (105) AccountnumberC118308663212812800001held in thename ofGerrion
                   CapitalS.A.atPll.B PrivateBank in Sw itzerland;

             CA lndosuez(Swilzerland)
             (106) Accountnumber C11308741014429800001 held in the name ofGerrion
                   CapitalS.A.atCA Indosuez in Sw itzerland;

             fGTB6UIICAG rswjfzcr/twc,
                                     /l
             (107) AccountnumberC116508335002004660028held inthenameofLeonardo
                   Gonzalez Dellan atLGT Bank AG in Switzerland;

             CreditSuisse('
                          Swïfzcrltm/
             (108) Accountnumber(21-190048351l1835192000held in the name ofM alabar
                   ServicesInc.atCreditSuissein Switzerland;

             CBH Ctpp?ptzgn/cBancaireHelvetiqueSA (Switzerland)
             (109) Accountnumber(211050876200207868000C held in thenameofIBCDB
                   lnc.atCBH Compagnie BancaireH elvetique SA in Sw itzerland;
             (110) AccountnumberC1158087620021l648000C heldin thenameofSevenstar
                   Ltd.atCBH Com pagnieBancaireHelvetique SA in Switzerland;

             HSBC f'rïvt
                       7/cBank(Sjvitzerlan+
             (111) AccountnumberC111308689050913819335held in the name of Raul
                   Gorrin atHSBC Private Bank in Switzerland;

             BankJuliusBaertzvwïfzcrDnx
             (112) Accountnumber309.3232held inthenameofM aylen PropertiesCorp.at
                   Bank JuliusBaerin Sw itzerland;

             BanescoPanan'a (Panama)
             (1l3) Accountnumber 110800015959 /04441612 held in the name of Quest
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                        lnvestmentGroup,lnc.atBanesco Panama in Panama;

                  Aircrah
                  (114) DassaultM ystereFalcon 5('
                                                 )EX,TailNumberN133JA,SN 268;
                  (115) 2007 Learjet45,TailNumberNl96AT,SN 344;
                  (116) 1999 Gulfstrealn AerospaceG-V,TailNumberN502KA,SN 502;and
                  RealEstate
                  (117) 12955SW 68Aventle,Pinecrest,Florida33156.
                        ln addition,my wife and llerfam ily,through their com pany,own the following

        assetsin which Imayhave an interestbyvirtueofourmarriage (collectively,SçsubjectAssets
        111''):
                  RealEstate
                  (118) l840CapesideCircle,W ellington,Florida33414;and
                  (1l9) 642 W .Rambling Drive,W ellington,Florida33414.
                        lconsentand agreeto the entry ofa Forfeiture M oney Judgm entin the amount

        ofatleast$1billion,whichiseqtlaltothetotalvalueoftheproperty,realorpersonal,laundered
        to,by,and/or form y benetitand involved in the m oney laundering conspiracy charged in the

        lnform ation,and property traceableto such propel-ty.

                  8.    ln partialsatisfaction of such Forfeiture M oney Judgment,lconsentand agree

        thatalloflnyright,title,andinterestin SubjectAssets1,SubjectAssets11and SubjectAssets
        IH shallbeforfeitedtoandshallvestintheUnited States,pursuanttoTitle 18,United StatesCode,

        Section 982(a)(1),asproperty,realorpersonal,involved in the moncy laundering conspiracy
        charged in the Infonnation,and/or asproperty traceableto such property. 1waive allinterestin

        theSubjectAssets1,SubjecfAssetsII,and SubjectAssetsIllin anyadministrativeorjudicial
        forfeitureproceeding,whethercrim inalorcivil,stateorfederal.

                        1 waive any applicable tim e limits for the initiation of forfeiture proceedings

        regarding SubjectAssets1,SubjectAssets1l,and SubjectAssetsIH,includingthosesetfol'th
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        in 18U.S.C.j983,andanyclaim orrighttofurthernoticeoftheforfeitureofsuchassets.
                      Iagreeto notcontestorassistanyoneelsein contesting theforfeitureofSubject
        Assets1,SubjectAssets1l,and SubjectAssets111.Ifanyotherpersonorentitymakesaclaim
       toanyofSubjectAssets1,SubjectAssets1I,andSubjectAssetsIH,andsuchclaim necessitates
        any furtheradministrativeorjudicialforfeitureactionregardingsuch assets,Iagreeto cooperate
        fully with theUnited Statesin any such proceedings.

                      ln accordance with my Plel
                                               i
                                               tAgreem ent,upon requestofthe United States,Iwill

        transferto theUnitedStatesanyoftheSubjectAssets1,SubjectAssets1I,and SubjectAssets
        I1l in m y possession and/orcontrol.

                      1,including m y agents,heirs,relatives,and assigns,hereby withdraw any and al1

        claim s and waive any answerand defensesin this matterthatIhave orm ighthave againstthe

        United States,theU.S.D epartmentofJustice,theU.S.Attorney'sO ffice forthe Southern District

        ofFlorida,the U .S.Departm entofHomel
                                            .
                                            and Security,Hom eland Security lnvestigations,U.S.

        Departm ent of Treasury, the Federal Bureau of lnvestigation, Federal Deposit lnsurance

        Corporation,andallagents,officers,and employeesthereof(hereinaftertheQçReleasedPallies''),
        relatingtotheseiztlreof,orthecommencelnentofadlninistrativeorjudicialforfeitureproceedings
        against,the Forfeiture M oney Judgment,SubjectAssets1,SubjectAssets1l,and Subject
        Assets 111,including any claims for lost profits or interestorexcessive fines under the Eighth

        Alnendm entoftheU.S.Constitution.
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                               lagreeto hold hannlesstheReleased Partiesfrom any and allclaim spertaining to

        thismatter and the Forfeiture M oney Judgment,SubjectAssets1,SubjectAssets 1I,and
        SubjectAssets111.


               Consentinz Pady's Signature: I have read this Consent to Forfeiture and carefully
        reviewed each and every partofitwith m ),legalcounsel. lunderstand thisConsentto Forfeiture
        andv'oluntarilyagreetoit.
                         '
                                                         '
                                                         hkXt
                                                         X  k
                                                            tx
                                                             sx
                                                              x.
                                                              .                     t..
              t ,.y;'        . ..,.?                       :
                                                           >.
                                                            y
                                                            x
                                                            .j
                                                             qk:
                                                               ,
                                                               .
                                                               l
                                                               k
                                                               x
                                                               .x.- ..'
                                                                      ......-jy..   xt.
                    's
          -                                                                               .. .
                                                                                             .   .....
          .         .        tr ,           By.
                                              .
                                                            '  v            ..                       ..

        Da e                                       ...                    - .




                   Defense Counsel's Signature:I am counselfor Alejandro Andrade Cedeno. l have
        carefully reviewed each and every partofthis Consent to Forfeiture with m y client. To m y
        knowledge,Alejandro AndradeCedeno'sdecision to enterinto thisConsentto Forfeiture isan
        inform ed and voluntary one.
         lo Yl zolg
        Date
                                            B y:
                                                     Coursel
                                                              Y .-w
                                                             fOUALEJANDR O
                                                                                                          - .yjj
                                                                                                               .
                                                                                                         RADE EDENO
                                                           'y *-e'     .


                                                                     /3')



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